                                      IN THE UNITED STATES DISTRICT COURT
                                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                               MCALLEN DIVISION


THE UNITED STATES OF AMERICA                                   §
                                                               §
                                    Plaintiff                  §
                                                               §
v.                                                             §              CASE NO. 7-18-CV-329
                                                               §
65.791 ACRES OF LAND, MORE OR                                  §
LESS, SITUATE IN HIDALGO COUNTY,                               §
STATE OF TEXAS; AND THE ROMAN                                  §
CATHOLIC DIOCESE OF                                            §
BROWNSVILLE, TEXAS, ACTING BY                                  §
AND THROUGH ITS BISHOP, THE                                    §
MOST REVEREND DANIEL E. FLORES                                 §
AS BISHOP OF THE ROMAN CATHOLIC                                §
DIOCESE OF BROWNSVILLE, AND FOR                                §
HIS SUCCESSORS IN OFFICE, ET AL.,                              §
                                                               §
                                    Defendants                 §


                    DEFENDANT ROMAN CATHOLIC DIOCESE OF BROWNSVILLE
                                   ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

             NOW               COMES       DEFENDANT       ROMAN        CATHOLIC         DIOCESE        OF

BROWNSVILLE (hereinafter at times referred to as “Defendant”) and files this its original

answer under authority of Rule 71.1(e)(2) of the Federal Rules of Civil Procedure to the

UNITED STATES OF AMERICA’s Complaint in Condemnation, Declaration of Taking and

Notice of Condemnation and in support thereof would respectfully show as follows:

                RESPONSES TO COMPLAINT IN CONDEMNATION (DOCUMENT 1)

             1.            Defendant is without knowledge sufficient to form a belief as to the truth of the
                           allegations in section 1.

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             2.            Defendant admits the allegations in section 2, subject to its objections and
                           defenses hereinafter.

             3.            Defendant is without knowledge sufficient to form a belief as to the truth of the
                           allegations in section 3.

             4.            Defendant is without knowledge sufficient to form a belief as to the truth of the
                           allegations in section 4.

             5.            Defendant owns the full fee simple absolute title and estate in all of the two tracts
                           of land involved in this condemnation action, by a deed recorded in the Deed
                           Records of Hidalgo County, Texas, filed for record on October 12, 1999 as
                           document number 814019 on tract RGV-MCS-2212. As for tract RGV-MCS-
                           2217, Defendant owns this property also. For it reference is made to the
                           foregoing property deed. The reference to document number 2011-2219429
                           recorded on July 1, 2011 in the Deed Records of Hidalgo County is a legal
                           description reflecting the total acreage of 39.89 acreage tract taken out of the
                           larger tract. The 39.89 acre tract was transferred to San Juan Diego Catholic
                           Regional High School a Texas nonprofit corporation. But it appears that on
                           Schedule D the aerial map that the proposed take for temporary possession is the
                           approximately 61 acre tract still owned and retained by the Diocese. Therefore to
                           the extent that the reference to deed document number 2011-2219429 may be
                           erroneous in that it does not actually describe the property owned by the
                           Defendant Roman Catholic Diocese of Brownsville but in fact is identifying a
                           second piece of property which Defendant understands would not be part of any
                           temporary possession.

             6.            To the extent that number six requires an answer, Defendant objects to the extent
                           that said proposed condemnation and temporary taking does not justly
                           compensate Defendant for all the land being affected by the temporary taking and
                           does not compensate adequately. Said temporary assignable easement and
                           possession also will clearly interfere with the Defendant uninterrupted right to
                           continue to use the chapel for mass and other religious worship, and the other
                           facilities there on RGV-MCS-2212. Among the other facilities is a park leased by
                           the City of Mission. As noted in said lease in Section 4 “Purposes” “The primary
                           purpose of the lease is the preservation and care of the chapel, bakery, well and
                           approximately one acre of ground on which these are situated as a religious shrine
                           and historical monument (those are on the premises leased) in accordance with La
                           Lomita Mission Preservation Plan…”. Defendant further objects and relies on all
                           its defenses set out herein after.

             7.            To the extent that number seven requires an answer, Defendant objects to the
                           extent that said proposed condemnation and temporary taking does not justly
                           compensate Defendant for all the land being affected by the temporary taking and
                           does not compensate adequately for its take. Said temporary possession also will
DEFENDANT ROMAN CATHOLIC DIOCESE OF BROWNSVILLE ORIGINAL ANSWER                                         Page 2
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                           clearly interfere with the uninterrupted right to continue to use the chapel for mass
                           and other religious worship, and the other facilities there on RGV-MCS-2212.

             8.            Defendant asserts that it is the undivided fee simple owner of all the land affected
                           by this condemnation suit. However Defendant again shows that the legal
                           description reflected for tract RGV-MCS-2217 appears to be wrong and covers
                           the property where the San Juan Diego Catholic Regional High School is located
                           which property was not meant to be covered by this condemnation suit for
                           temporary possession. There is a lease for the City of Mission dated March 12,
                           2007, which expires on March 12, 2032 on tract RGV-MCS-2212.

             9.            To the extent an answer is required, Defendant again claims a full fee simple
                           absolute undivided interest in all the property affected. In tract RGV-MCS-2212
                           claims a full fee simple absolute undivided interest in all the property affected and
                           what is outlined in the aerial map on RGV-MCS-2217 but which legal description
                           is not accurate as noted herein above. Defendant again claims a full fee title in
                           the approximately 65.791 acres.

                  RESPONSES TO THE DECLARATION OF TAKING (DOCUMENT 2)

             1.            Defendant is without knowledge sufficient to form a belief as to the truth of the
                           allegations in section 1.

             2.            Defendant is without knowledge sufficient to form a belief as to the truth of the
                           allegations in section 2.

             3.            Defendant admits the allegations in section 3 as it pertains to tract RGV-MCS-
                           2212, the 4.781 acres. However, there is no legal description for the tract RGV-
                           MCS-2217, the approximately 61 acres. The legal description on the Second
                           Schedule C is for the land transferred by Defendant to the San Juan Diego
                           Catholic Regional High School.

             4.            Defendant admits the allegations in section 4.

             5.            Defendant owns a full absolute undivided fee simple estate in all of the land
                           involved in this condemnation action, by a deed recorded in the Deed Records of
                           Hidalgo County, Texas filed for record on October 12, 1999 as document number
                           1999-814019 for tract RGV-MSC-2212. And as for tract RGV-MCS-2217,
                           Defendant owns this property also reflected on the aerial photograph (Second
                           Schedule D). For it reference is made to the property deed and document number
                           1999-814019.

             6.            Defendant denies that the sum estimated is just compensation for the temporary
                           assignable easement being sought or condemned. Defendant asserts that the just
                           compensation is much greater and that the Plaintiff has not taken into the account
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                           the entire effect on the entire tracts of 65.791 acres being sought to be temporarily
                           taken. Pursuant to Rule 71.1(h)(1)(B), Federal Rules of Civil Procedure,
                           Defendant requests a trial by jury to establish the just and fair compensation for
                           the land of 65.791 acres being temporarily taken or sought and for damages that
                           may result from the temporary take.

             7.            Defendant asserts that it is absolute undivided fee simple owner of all the land
                           affected by this condemnation suit. There is a lease to the City of Mission on
                           tract RGV-MCS-2212. To the extent that the Hidalgo County Tax Assessor
                           Collector or other tax bodies should be notified, then same can occur. Defendant
                           would again show that the aerial photograph reflecting tract RGV-MCS-2217
                           would be land owned by the Defendant Roman Catholic Diocese of Brownsville
                           but the legal description and document number reflected for it appears to be
                           wrong.

             8.            Defendant admits that efforts were made to agree the acquisition of the property
                           interest sought. However, because of the activities on the property RGV-MCS-
                           2212 being used as a chapel for religious services and other religious activities
                           Defendant believes all this was not taken into consideration in seeking the
                           temporary possession. RGV-MCS-2217 is next to San Juan Diego Academy
                           Catholic High School. This is a Catholic High School and activities that could
                           take place on tract RGV-MCS-2217 would impact the school.

                                    DEFENDANTS’ OBJECTIONS AND DEFENSES

       Pursuant to Rules 71.1(e)(2) Defendant sets out all the following as objections and/or
defenses to the complaint in condemnation and declaration for taking of a temporary assignable
easement on the entire 26 acres. Defendant would show the following:

             1.            To the extent that the proposed declaration of taking for survey and temporary
                           possession conflicts with the First Amendment of the United States Constitution
                           and the Defendant’s property and the uninterrupted right of Defendant to free
                           exercise of its Religion, Defendant objects to the taking. The First Amendment to
                           the Constitution of the United State of America which was ratified effective
                           December 15, 1791 reads in part as follows: “Congress shall make no law
                           respecting an establishment of religion, or prohibiting the free exercise thereof”…
                           Even the proposed temporary taking will certainly impede or interrupt the
                           Defendant’s right to exercise its freedom of religion. Defendant would further
                           assert that there can be no waiver of the First Amendment right concerning the
                           right to exercise its freedom of religion. Defendant would show that it is what is
                           called a public juridic person under the Code of Canon Law of the Roman
                           Catholic Church. See Canons 113 and 114. The purpose of a Diocese is to do the
                           mission of the church as set out in the Code of Canon Law. Purposes as noted in
                           Canon Law 114 pertain to works of piety, of the apostolate or of charity, whether
                           spiritual or temporal. Within a Diocese, the Diocesan Bishop is responsible for
DEFENDANT ROMAN CATHOLIC DIOCESE OF BROWNSVILLE ORIGINAL ANSWER                                         Page 4
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                           the care of the Diocese and possesses all the ordinary, proper and immediate
                           power which is required for the exercise of his pastoral office within the Diocese.
                           See Canons 376 and 381. The Diocesan Bishop represents his Diocese in all
                           juridic affairs. See Canon 393.

                                    Answering further, Defendant would show that La Lomita Chapel is a
                           sacred building destined for divine worship to which the faithful have a right of
                           access for divine worship, especially its public exercise. See Canon 1214. Any
                           restriction or interference with the Diocese and its faithfuls abilities to use the
                           Chapel would be in conflict with the Canon Law of the Roman Catholic Church.
                           This Court’s subject matter jurisdiction over this suit may require the
                           interpretation and application of principles of Canon Law of the Roman Catholic
                           Church. The First Amendment of the United States Constitution, as applied to the
                           States by the Fourteenth Amendment, provides that Congress shall make no law
                           respecting an establishment of religion, or prohibiting the free exercise thereof
                           U.S. Const. Amends I, XIV. Thus, the Constitution mandates that government
                           and religion remain separate, and forbids the government from interfering with
                           the right of hierarchical religious bodies to establish their own internal rules and
                           regulations in certain situations.       See Serbian E. Orthodox Diocese v.
                           Millivojevich, 426 U.S. 696, 708-09, 724-25, 96 S. Ct. 2372, 2380, 2387-88, 49
                           L.Ed.2d 151 (1976). Specifically, the First Amendments Religion Clauses protect
                           the right of religious organizations to control their internal affairs. Cannata v.
                           Catholic Diocese of Austin, 700 F. 3d 169, 172 (5th Cir. 2012). The First
                           Amendment’s establishment and free exercise clauses together radiate a spirit of
                           freedom for religious organizations, and independence from secular manipulation
                           or control, that places matters of church government and administration beyond
                           the purview of civil authorities. McClure v. Salvation Army, 460 F.2d 553, 559-
                           60 (5th Cir. 1972) (citations omitted). The church autonomy afforded under the
                           Constitution protects the ability of religious organizations to be free from state
                           interference in matters of church government. Cannata v. Catholic Diocese of
                           Austin, 700 F.3d 169, 172 (5th Cir. 2012) (internal quotations omitted). To the
                           extent that Plaintiff’s action will interfere in matters of church government
                           involving that sacred building, Defendant relies on the foregoing case law to
                           prevent such interference.

             2.            To the extent that the National Historic Preservation Act 54USCA section
                           300101, et.seq. requires federal agencies to decide if their projects may adversely
                           impact a historic property and cultural resource, and to the extent that the Act
                           applies herein, Defendant objects and requests that the Court require the Plaintiff
                           Government to comply with all aspects of this or any other statutes concerning
                           any activities that the Plaintiff may be allowed to perform on the proposed area to
                           be taken for temporary possession. Located on tract RGV-MCS-2212 is La
                           Lomita Chapel which is part of the La Lomita Historic District. The original La
                           Lomita Chapel was built in or about 1865 by the Oblate Fathers. This property
                           was transferred to the Defendant Roman Catholic Diocese of Brownsville in 1999
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                           by the deed document number 1999-814019 noted herein above. This chapel is
                           on the National Register of Historic Places. It has been a place of worship and
                           used by the Catholic faithful for more than 153 years.

             3.            To the extent that the proposed declaration of taking violates the Religious
                           Freedom Restoration Act of 1993 codified at 42 USC section 2,000bb through 42
                           USC section 2,000bb-4 also known as RFRA, the Defendant would object to the
                           taking. In connection with this the Defendant would show that on tract RGV-
                           MCS-2212 it has a chapel where mass and other Catholic religious services are
                           conducted. The proposed temporary taking would significantly impact these
                           religious activities. The proposed area to be surveyed is within a few feet of the
                           chapel noted herein above.

             4.            Defendant objects to the extent that the public purpose for which the interest in
                           the property is being taken exceeds the statutory authorization in Title 8 USCA,
                           section 1103(b) and note. Upon information and belief that statute provides for
                           reinforced fencing and also provides for the installation of additional physical
                           barriers, roads, lighting, cameras, and sensors to gain operational control of the
                           southwest border. To the extent that said public purpose noted by Plaintiff
                           exceeds or contradicts the statute and does not define related structures,
                           Defendant objects. Plaintiff has identified public purpose in Section 4 of the
                           Complaint in Condemnation; and Schedule B attached to the complaint and the
                           Declaration of Taking and Notice.

             5.            The amendments of Public Law 110-161, Div E, Title V, § 564, 121 Stat. 2090,
                           (enacted December 26, 2007) require that the construction of fencing by situated
                           “along the border”. Defendant objects to the taking of its land since it is neither
                           situated on or adjacent to the U.S. – Mexico border as defined by Article V of the
                           Treaty of Guadalupe Hidalgo, and recognized by this Court in Amaya v. Stanolind
                           Oil & Gas, 62 F. Supp. 181, 194 (S.D. Tex.1945) and the Supreme Court in U.S.
                           v. Louisiana, 363 U.S. 1, 36, 48; 80 S. Ct. 961; 4 L.Ed. 2d 1025 (1960).
                           Defendant asserts that Plaintiff does not have authority under the enabling statute
                           to condemn Defendant’s property because it is outside of the scope of the
                           property authorized for condemnation by Congress. Answering further because
                           of the extremely closed proximity to some of the buildings in question to the areas
                           to be surveyed it would almost be impossible to place any “related structures” on
                           the Defendants property. Therefore, Defendant requests that it be clarified what
                           the other “related structures” are.

             6.            To the extent that the waiver published in the Federal Register on October 11,
                           2018 submitted by the Department of Homeland Security waiving several federal
                           statutes including various environmental statutes, Defendant objects to the extent
                           that this waiver could be in non compliance with federal law. Further to the
                           extent that any Court was to issue an injunction or restraining order against said
                           waiver and requiring the compliance with the various federal statutes listed in said
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                           waiver submitted as document citation 83FR51472 found at pages 51472-51474
                           of the Federal Register and reflected as documents number 2018-22063,
                           Defendant would join In any such request for injunction relief.

             7.            To the extent that the waiver published in the Federal Register on October 11,
                           2018 waives several statutes involving historical preservation acts possible burial
                           grounds or archeological sites, Defendant objects to the extent that this waiver can
                           be in noncompliance with Federal Law this would be specially true involving tract
                           RGV-MCS-2212 which as noted previously has had a chapel and other structures
                           there since at least 1865 and burials and other activities may have taken place
                           during this great expanse of years which should necessitate compliance with all
                           such statutes before any activities are allowed to take place on tract RGV-MCS-
                           2212.

             8.            To the extent that the Plaintiff may not have complied with all federal statutes
                           before declaring a public purpose, Defendant objects.

             9.            Plaintiff has failed to clearly identify whether its offer takes into consideration or
                           provides any damages separately to that portion of the property being used by the
                           Plaintiff, for its survey and other activities.

             9.            That the Plaintiff has failed to provide just and adequate compensation for the
                           land of 65.791 acres being temporarily taken.

             10.           That the Plaintiff has failed to adequately consult under the consultation clause of
                           the note to Title 8 USCA, section 1103. Said negotiations should be a condition
                           prior to entry onto the property after the taking has been completed. Defendant
                           acknowledges that the Plaintiff’s representatives consulted with the Defendant
                           and its attorney. As a result of these discussions there should of have been no
                           request for a temporary taking based on the religious activities that take place on
                           the property, the residence, library and other structures.

             11.           To that extent that parts of the Uniform Relocation Assistance and Real Property
                           Acquisition Policies Act of 1970, Title 42 USCA, sections 4601, et. seq. may
                           apply that the Plaintiff be required to comply with those provisions, before any
                           temporary possession or taking of a temporary assignable easement is allowed.

             12.           That any order of possession be done in compliance with Title 40 USCA, section
                           3114.

             13.           In the alternative, that the Court fix the time and the exact terms on which the
                           Plaintiff may take possession of the Defendant’s property. In connection with
                           this, there is a chapel where mass and other Catholic religious services are
                           conducted. This tract RGV-MCS-2212 is where the city of Mission has a lease.
                           There is also a park there maintained by the City of Mission where various types
DEFENDANT ROMAN CATHOLIC DIOCESE OF BROWNSVILLE ORIGINAL ANSWER                                          Page 7
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                           of activities take place. As for tract RGV-MCS-2217 this property is adjacent to
                           property that was transferred to Juan Diego Catholic Regional High School and
                           which operates as a Catholic High School. There are students on campus and
                           Defendant would ask that in the alternative that if the Court was to grant
                           possession that restrictions be put on what activities can take place because of the
                           proximity to the school and at what times.

             14.           Defendant requests a trial by jury as noted hereinabove pursuant to Rule
                           71.1(h)(1)(b) of the Federal Rules of Civil Procedure to determine, just
                           compensation of the 65.971 acres of land temporarily taken.

             15.           Defendant has not been provided with any documentation as to how the Plaintiff
                           arrived at the value in the offer or deposit made and Defendant objects to said
                           offer.

             16.           Answering further, Defendant reserves all rights it may have under Title 28
                           USCA, section 2412, the Equal Access to Justice Act to recover attorneys fees for
                           the condemnation. Also see USA vs. 329.73 acres of land, et. al., 704 F 2d
                           800(5th Cir.1983, en banc)

             17.           Defendant also reserves its right to receive additional interest on any final award
                           of compensation as provided for in Title 40 USCA, section 3116.

             18.           Defendant reserves its right to receive all adequate written notices which may be
                           required before any entry on to the Defendant’s land, which are being sought.
                           And in connection with this ask Defendant asks for that to be part of any terms
                           and conditions in any order of possession. This is especially important in light of
                           the activities taking place.

             19.           Public Law 110-161, Div E, Title V, § 564, 121 Stat. 2090, (enacted December
                           26, 2007), requires Plaintiff to “consult with the Secretary of the Interior, the
                           Secretary of Agriculture, States, local governments, Indian tribes, and property
                           owners in the United States to minimize the impact on the environment, culture,
                           commerce, and quality of life for the communities and residents located near the
                           sites at which such fencing is to be constructed.”(emphasis added) Plaintiff has
                           failed to conduct meaningful consultation with the representatives of Defendant’s
                           community prior to filing this complaint in condemnation. Plaintiff’s failure to
                           conduct meaningful consultation deprives Plaintiff of any authority to engage in
                           temporary possession and condemnation of Defendant’s property at this time.

             20.           To the extent that the condemnation at this time does not conform with the
                           Uniform Appraisal Standards for Federal Land Acquisitions, Defendant objects.

             21.           To the extent that the proposed condemnation has failed to comply with all the
                           guidelines set out of the Department of Homeland Security’s Brochure entitled
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                           Acquiring Real Property for Border Security Infrastructure in Support of the
                           Secure Border Initiative, Defendant objects.

             22.           Defendant further reserves the right to file additional objections or defenses to the
                           temporary taking by the Plaintiff, United States of America if circumstances
                           change, or any amendments are filed by the Plaintiff.

             WHEREFORE, Defendant Roman Catholic Diocese of Brownsville requests that:

             1.            Judgment be rendered denying Plaintiff’s right to condemn and obtain a
                           temporary assignable easement or for any other purpose on Defendant’s above-
                           referenced property of 65.791 acres, more or less.

             2.            In the alternative, if the property of 65.791 acres is taken under a temporary
                           assignable easement then this Honorable Court consider all the objections and
                           defenses set out hereinabove, before granting possession and place reasonable
                           limitations on said temporary possession.

             3.            Defendant be allowed recovery of its expenses for attorney fees in defending
                           against this condemnation action pursuant to the provisions therefore in the
                           Uniform Relocation Assistance and Real Property Acquisition Policies Act of
                           1970, 42 U.S.C. § 4654(a)(1) if applicable and to the Equal Access to Justice Act,
                           Title 28 USCA, section 2412, if applicable.

             4.            The Court grant Defendant such other and further relief as the Court deems
                           proper.

             5.            Defendant requests a trial by jury, pursuant to Rule 71.1(h) (1) (B) on the issue of
                           just and adequate compensation.

                                                         Respectfully submitted,
                                                         ROMAN         CATHOLIC  DIOCESE                    OF
                                                         BROWNSVILLE, Defendant


                                                         By:     /s/ David C. Garza
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                                                         Fax: (956) 542-7403
                                                         ATTORNEY FOR DEFENDANT




                                     CERTIFICATE OF SERVICE

             I hereby certify that on November 6, 2018, I electronically filed the foregoing original
answer by Defendant with the Clerk of the Court using the CM/ECF system which will send
notification to all counsel of record and that I emailed a copy to the following:

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                                                         ______/s/ David C. Garza_________
                                                               David C. Garza




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